






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00287-CR


				NO. 03-03-00288-CR

				NO. 03-03-00289-CR

				NO. 03-03-00290-CR

				NO. 03-03-00291-CR

				NO. 03-03-00292-CR

				NO. 03-03-00293-CR

				NO. 03-03-00294-CR





The State of Texas, Appellant



v.



Robert Blankenship, Appellee







FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY


NOS. 624903, 624904, 624905, 624906, 624907, 624908, 624909 &amp; 624910,


HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING






O P I N I O N



	The State appeals eight judgments, Nos. 624903 through 624910, entered by the
County Court at Law No. 1 of Travis County, each of which reversed a judgment of conviction in
the municipal court of the City of Austin.

	On April 24, 2002, thirteen complaints were filed against appellee Blankenship in the
municipal court of the City of Austin charging him with violations of city ordinances defining penal
offenses. (1)  The cases were heard on July 17, 2002.  The municipal court judge acquitted Blankenship
of five offenses, but took the other cases under advisement.  On August 23, 2002, the trial court
judge found Blankenship guilty of five offenses of developing or changing the use of property
without first obtaining a site plan approval and release by the City of Austin.  Blankenship was also
convicted of three offenses of failing to observe a stop-work order posted at the site of the property
involved.  The trial court assessed a $1,000 fine in each of the eight cases.  Blankenship appealed
all eight convictions to the County Court at Law No. 1 of Travis County.  These appeals were based
on the record made in the municipal court of the City of Austin, a court of record.  See Tex. Gov't
Code Ann. §§ 30.00731-.00737 (West Supp. 2003).

	On April 25, 2003, the county court at law handed down an opinion applicable to all
eight appeals reversing the judgments of convictions in the municipal court.  The county court at law,
acting in its appellate capacity, found that there was a fatal variance in each case between the
pleading and the proof.  The court found that each complaint alleged the offense occurred within the
territorial limits of the city.  The proof showed, however, that each offense occurred outside the
territorial limits of the city, although within the extraterritorial jurisdiction of the city, a matter not
alleged.  Because of the fatal variance, and the failure to plead an essential element of each offense
charged, the county court at law reversed each of the eight convictions and ordered the trial court to
enter judgments of acquittal.  The State gave notice of appeal in each case.  The State has now raised
three points of error claiming the county court at law erred in its written opinion.  We will not reach
the merits of these contentions.


A Jurisdiction Question

	We are confronted at the outset with a jurisdictional question.  In this State-prosecuted appeal, the notice of appeal is signed only by an assistant city attorney and not "made"
by the "prosecuting attorney" in this case, the county attorney, as required by statute.  See Tex. Code
Crim. Proc. Ann. art. 44.01(d), (i) (West Supp. 2003).  Appellee Blankenship has filed a motion to
dismiss the appeal claiming that this Court has no jurisdiction.


Jurisdiction	Jurisdiction concerns the power of the court to hear and determine a case.  State v.
Riewe, 13 S.W.3d 408, 410 (Tex. Crim. App. 2000); Olivo v. State, 918 S.W.2d 519, 522 (Tex.
Crim. App. 1996).  Jurisdiction is fundamental and its absence cannot be ignored by an appellate
court.  State v. Morse, 903 S.W.2d 100, 102 (Tex. App.--El Paso 1995, no pet.); Solis v. State, 890
S.W.2d 518, 520 (Tex. App.--Dallas 1994, no pet.).  Consequently, we are obligated to take notice
of the circumstances, even on our own motion.  White v. State, 930 S.W.2d 673, 675 (Tex.
App.--Waco 1996, no pet.); Morse, 903 S.W.2d at 102.  Each court has jurisdiction to determine
whether it has jurisdiction.  State v. Roberts, 940 S.W.2d 655, 657 (Tex. Crim. App. 1996).  When
a court determines that it has no jurisdiction to decide the merits of the case or appeal, the
appropriate action is to dismiss.  Id. at 660; Wolfe v. State, 878 S.W.2d 645, 646 (Tex. App.--Dallas
1994, no pet.).  Any other action by a court without jurisdiction is void.  Foster v. State, 635 S.W.2d
710, 721 (Tex. Crim. App. 1982); Ford v. State, 38 S.W.3d 836, 841 (Tex. App.--Houston [14th
Dist.] 2001, pet. ref'd); Martinez v. State, 5 S.W.3d 722, 725 (Tex. App.--San Antonio 1999, no
pet.); see also Jordan v. State, 54 S.W.3d 783, 785 (Tex. Crim. App. 2001).

	Appellate jurisdiction is generally invoked by giving notice of appeal in a criminal
case.  Riewe, 13 S.W.3d at 410. (2)  The notice of appeal must be timely and in writing to invoke the
jurisdiction of a court of appeals.  Id.  The instant case is a State-prosecuted appeal, therefore, we
examine the State's limited right of appeal and the notice of appeal it must give.  


The State's Limited Right To Appeal

	Prior to November 1987, there was a traditional prohibition against appeals by the
State in criminal litigation.  43A George E. Dix &amp; Robert O. Dawson, Texas Practice: Criminal
Practice and Procedure § 43.191 (2d ed. 2001) [hereinafter Dix]; State v. Pittman, 829 S.W.2d 897,
898 (Tex. App.--Austin 1991, no pet.).  In the general election in November 1987, the citizens of
Texas voted to amend the Texas Constitution to read: "The State is entitled to appeal in criminal
cases, as authorized by general law."  Tex. Const. art. V, § 26.  Article 44.01 of the Texas Code of
Criminal Procedure was amended to implement this historic constitutional change by granting a
limited right of appeal by the State.  Article 44.01 provides in pertinent part:



  The state is entitled to appeal an order of a court in a criminal case if the order:



	 . . .


	(2)	arrests or modifies a judgment

. . . 



  The prosecuting attorney may not make an appeal under Subsection (a) or (b)
of this article later than the 15th day after the date on which the order, ruling or
sentence to be appealed is entered by the court.



. . . 



  In this article "prosecuting attorney" means the county attorney, district
attorney, or criminal district attorney who has the primary responsibility of
prosecuting cases in the court hearing the case and does not include an assistant
prosecuting attorney.




Tex. Code Crim. Proc. Ann. art. 44.01(a)(2), (d), (i) (West Supp. 2003) (emphasis added). (3)
  

	We must decide whether the instant amended notice of appeal signed only by an
assistant city attorney meets the requirements of article 44.01.  It must be remembered that we are
dealing with a State-prosecuted appeal, not an appeal by a convicted defendant in a criminal case. 

Discussion


	State v. Muller, 829 S.W.2d 805 (Tex. Crim. App. 1992), appears to be the
controlling case.  In Muller, the State's original notice of appeal was signed only by the assistant
district attorney of Harris County.  Eight months later, the State persuaded the court of appeals to
permit it to submit an amended notice of appeal signed personally by the elected district attorney. 
The court of appeals reversed the trial court's ruling.  A petition for discretionary review was
granted.  Id. at 806.  The Texas Court of Criminal Appeals reversed the court of appeals and
explained that article 44.01 not only prescribes the procedural guidelines but it also limits the State's
authority to appeal.  Id. at 812 (citing State v. Demaret, 764 S.W.2d 857, 858 (Tex. App.--Austin
1989, no pet.)); see also Bayless v. State, 91 S.W.2d 801, 804 (Tex. Crim. App. 2002).

	Muller made clear that article 44.01(i) required that the elected prosecuting attorney
personally and timely authorize each notice of appeal by the State.  Id. at 810-12.  The "prosecuting
attorney" designated in the statute may not delegate general responsibility for deciding whether the
State is to take an appeal in a criminal case to an assistant.  Id. at 812 n.9.  The court rejected the
amended notice of appeal holding that the filing of the original notice of appeal by an assistant
prosecuting attorney is not a defect in appellate procedure but a failure to abide by the substantial
requirements of article 44.01.  Id. at 812.  The court concluded that the State did not have the legal
power to file a notice after the statutory fifteen-day deadline set forth in article 44.01(d) had expired. 
Id.  The court held that noncompliance with article 44.01 was not susceptible to correction through
the application of the Texas Rules of Appellate Procedure, and that the court of appeals erred in
using the appellate procedural rules to create a jurisdiction enlarging procedure neither expressly
contained or implicated by the literal text of article 44.01.  Id. (4)

	The caselaw has been consistent with the holding in Muller.  See 43A Dix § 43.194. 
In Pittman, the notice of appeal signed by an assistant county attorney was held defective and not
cured by an untimely amended notice of appeal.  829 S.W.2d at 899-900.  In Boseman v. State, 830
S.W.2d 588 (Tex. Crim. App. 1992), as in the instant case, the notice of appeal was signed by an
assistant city attorney and not by the prosecuting attorney (county attorney).  After the fifteen-day
deadline set forth in article 44.01, the county attorney filed an affidavit purporting to deputize the
assistant city attorney for the purpose of the appeal and to ratify the notice of appeal given.  Id. at
589.  The court held that the notice was defective and the State lost any chance to appeal "when the
fifteen-day window of opportunity closed without the county attorney's personal and express
authorization of this specific notice of appeal."  Id. at 591.  

	In Shelton v. State, 830 S.W.2d 605 (Tex. Crim. App. 1992), the notice of appeal was
signed only by an assistant county attorney.  The court found this notice defective and not saved by
the stamping of the facsimile signature of the county attorney on the notice.  The court concluded
that such action did not satisfy the burden of proving that the appeal was personally, expressly, and
specifically authorized by the "prosecuting attorney."  Id. at 606.

	And in Riewe, the Court of Criminal Appeals reiterated that in State-prosecuted
appeals it is a jurisdictional defect when the elected prosecuting attorney fails to "make" the appeal. 
13 S.W.3d at 410.  


The Instant Notice of Appeal

	With the foregoing background, we turn to the amended notice of appeal in this case: (5) 



I.


	The State of Texas hereby gives notice of its desire to appeal from this Court's
Opinion and Judgment reversing the trial court's judgment in each of the above-numbered cases.  This Court signed the Opinion and Judgment on April 25, 2003. 
A copy is attached as Exhibit A.


II.


	This appeal is authorized by Article 44.01 of the Code of Criminal Procedure
and T.R.A.P. 25.2, which permit the State in a criminal case to appeal a court order
that arrests or modifies a judgment, as well as to appeal a ruling on a question of law
if the defendant is convicted and appeals the judgment.


	This appeal is timely under Article 44.01 and T.R.A.P. 26.2, which require the
State to file a notice of appeal not later than the 15th day after the day the court enters
the order to be appealed, and T.R.A.P. 4.1, which sets forth rules for computing time. 
This Court signed its Order and Judgment on April 25, 2003.  The fifteenth day
thereafter was Saturday, May 10.  The deadline for filing this Notice of Appeal is
therefore Monday, May 12.

III.


	The State of Texas desires to appeal to the Third Court of Appeals.


IV.


	The County Attorney has consented to the City Attorney prosecuting this appeal
under Article 45.201 of the Code of Criminal Procedure.


						RESPECTFULLY SUBMITTED,


						SEDORA JEFFERSON

						CITY ATTORNEY



						/S/ Gaye Brewer                                             

						GAYE BREWER

						Assistant City Attorney

						State Bar No. 02964050								City of Austin Law Department

						Post Office Box 1546

						Austin, Texas 78767-1546

						(512) 974-2161

						(512) 974-6490 [FAX]


						ATTORNEYS FOR THE STATE OF TEXAS



	If it can be said that the amended notice was timely filed, it was signed only by an
assistant city attorney and not personally or expressly by the prosecuting attorney as required by
article 44.01.  The State calls attention to the assertion in the notice, paragraph IV, that the county
attorney had consented to the city attorney prosecuting the appeal under article 45.201 of the Code
of Criminal Procedure.  Article 45.201(c) provides:


	With the consent of the county attorney, appeals from municipal court to a
county court, county court at law, or any appellate court may be prosecuted by the
city attorney or a deputy city attorney.



Tex. Code Crim. Proc. Ann. art. 45.201 (West Supp. 2003).

	The State argues that the assertion in the notice of appeal was sufficient to infer
personal authorization by the county attorney for the appeal.  We do not agree that it was an adequate
substitution for the county attorney's personal, express, and specific making of an appeal as required
by article 44.01.  Article 45.201 relates to the consent of the county attorney for a city attorney or
assistants to "handle" or prosecute an appeal.  It does not trump the requirements of article 44.01 as
to the notice of appeal.


Other Efforts To Cure Error

	On June 19, 2003, the State filed an answer to the appellee's motion to dismiss the
appeal for lack of jurisdiction.  Attached thereto is (1) an affidavit dated June 18, 2003, from the
Austin City Attorney that on or about May 8, 2003, she gave instructions to her staff to pursue
appeals in the eight cases here involved; (2) an affidavit dated June 17, 2003, from the County
Attorney of Travis County stating that on May 12, 2003, he considered a request from the city
attorney's office for permission to appeal the ruling of the county court at law in the eight cases here
involved and the further request to consent to the city attorney's staff prosecuting the appeals.  The
county attorney stated that he "called" assistant city attorney Gaye Brewer on May 12, 2003, and
consented to the city's request.  He signed a letter to that effect on May 12, 2002, that was attached
to the county attorney's affidavit.  The State in its answer tells us the county attorney's letter was not
received until May 13, 2003, which was too late to attach it to the notice of appeal filed on May 12,
2003, the last day for filing the required notice of appeal.

	Affidavits and documents attached to briefs or pleadings may not be considered on
appellate review.  Cook v. State, 741 S.W.2d 928, 938-39 (Tex. Crim. App. 1987); Pollan v. State,
612 S.W.2d 594, 596 (Tex. Crim. App. 1981); Garrett v. State, 566 S.W.2d 605, 609 (Tex. Crim.
App. 1978); Miranda v. State, 813 S.W.2d 724, 738 (Tex. App.--San Antonio 1991, pet. ref'd)
(citing Vanderbilt v. State, 629 S.W.2d 709, 717 (Tex. Crim. App. 1981)).  Moreover, if the
affidavits had been filed in the record after their execution, they would have been filed subsequent
to the filing deadline for a State's notice of appeal as prescribed by article 44.01(d).  These
documents cannot be used to cure or ratify the State's filed notice of appeal. 


Conclusion

	The State's amended notice of appeal did not comply with article 44.01 and thus this
Court has no jurisdiction to entertain the appeal.  The appellee's motions to dismiss are granted and
the appeals are dismissed.  



										__________________________________________

										John F. Onion, Jr., Justice

Before Chief Justice Law, Justices Puryear and Onion*

Dismissed

Filed:   October 16, 2003

Publish





*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. §&nbsp;74.003(b) (West 1998).
1. &nbsp;&nbsp;"Conduct does not constitute an offense unless defined as an offense by statute, municipal
ordinance, order of a county commissioners court, or rule authorized by and lawfully adopted under
a statute."  Tex. Pen. Code Ann. § 1.03(a) (West 2003) (emphasis added).  The jurisdiction of
municipal courts is limited by general law to certain criminal cases only with the exception of
jurisdiction over forfeiture cases involving bail and personal bonds taken in criminal cases of which
a municipal court has jurisdiction.  See Tex. Gov't Code Ann. § 29.003 (West 2003).  
2. &nbsp;&nbsp;In a death penalty case, it is unnecessary to file a notice of appeal.  See Tex. R. App. P.
25.2(a).
3. &nbsp;&nbsp;Article 44.01 fully provides:



  The state is entitled to appeal an order of a court in a criminal case if the
order:

  
    dismisses an indictment, information, or complaint or any portion of an
indictment, information, or complaint;

    arrests or modifies a judgment;

    grants a new trial;

    sustains a claim of former jeopardy; or

    grants a motion to suppress evidence, a confession, or an admission, if
jeopardy has not attached in the case and if the prosecuting attorney
certifies to the trial court that the appeal is not taken for the purpose of
delay and that the evidence, confession, or admission is of substantial
importance in the case.  

  
  The state is entitled to appeal a sentence in a case on the ground that the
sentence is illegal.

  The state is entitled to appeal a ruling on a question of law if the defendant
is convicted in the case and appeals the judgment.

  The prosecuting attorney may not make an appeal under Subsection (a) or
(b) of this article later than the 15th day after the date on which the order,
ruling, or sentence to be appealed is entered by the court.

  The state is entitled to a stay in the proceedings pending the disposition of
an appeal under Subsection (a) or (b) of this article.

  The court of appeals shall give precedence in its docket to an appeal filed
under Subsection (a) or (b) of this article.  The state shall pay all costs of
appeal under Subsection (a) or (b) of this article, other than the cost of
attorney's fees for the defendant.

  If the state appeals pursuant to this article and the defendant is on bail, he
shall be permitted to remain at large on the existing bail.  If the defendant is
in custody, he is entitled to reasonable bail, as provided by law, unless the
appeal is from an order which would terminate the prosecution, in which
event the defendant is entitled to release on personal bond.

  The Texas Rules of Appellate Procedure apply to a petition by the State to
the Court of Criminal Appeals for review of a decision of a court of appeals
in a criminal case.

  In this article, "prosecuting attorney" means the county attorney, district
attorney, or criminal district attorney who has the primary responsibility of
prosecuting cases in the court hearing the case and does not include an
assistant prosecuting attorney.

  Nothing in this article is to interfere with the defendant's right to appeal
under the procedures of Article 44.02 of this code.  The defendant's right to
appeal under Article 44.02 may be prosecuted by the defendant where the
punishment assessed is in accordance with Subsection (a), Section 3d,
Article 42.12 of this code, as well as any other punishment assessed in
compliance with Article 44.02 of this code.  



Tex. Code Crim. Proc. Ann. art. 44.01 (West Supp. 2003).

4. &nbsp;&nbsp;When the Legislature granted the Texas Court of Criminal Appeals rule-making authority,
it expressly provided that the rules adopted not abridge, enlarge, or modify the substantive rights of
a litigant.  See Tex. Gov't Code Ann. § 22.108(a) (West Supp. 2003); Lyon v. State, 872 S.W.2d 732,
735 &amp; n.10 (Tex. Crim. App. 1994).  Courts of appeals are prevented from using appellate rules to
create jurisdiction where none exists.  Riewe v. State, 13 S.W.3d 408, 413 (Tex. Crim. App. 2000). 

5. &nbsp;&nbsp;The original notice of appeal is the same as the amended notice of appeal except for
paragraph IV.  Both notices were filed on the same day, May 12, 2003.


